                Case 3:12-bk-07345-PMG               Doc 131    Filed 09/20/18     Page 1 of 2
[Dodmuf] [District Order Denying Motion for Unclaimed Funds]




                                          ORDERED.
Dated: September 20, 2018




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                        JACKSONVILLE DIVISION
                                           www.flmb.uscourts.gov



In re:                                                                  Case No.
                                                                        3:12−bk−07345−PMG
                                                                        Chapter 13
John Wesley Hardwick

Allison Karen Hardwick

________Debtor*________/

                          ORDER DENYING MOTION FOR UNCLAIMED FUNDS

  THIS CASE came on for consideration of the Motion for Unclaimed Funds (the "Motion") filed by Ashtin
Henninger on behalf of John Wesley Hardwick and Allison Hardwick on September 6, 2018 (Doc No. 130 ).
The Motion fails to fulfill the requirements of 28 U.S.C. § 2042 and the financial guidelines for the U.S.
Bankruptcy Court, Middle District of Florida as follows:

        Proof of service upon the United States Attorney at Attn: Civil Process Clerk, 400 N. Tampa Street,
Suite 3200, Tampa, FL 33602 was not provided.

       The last four digits of the claimant's Social Security Number or Tax Identification Number were not
provided.

         An Internal Revenue Service Form W−9 for the claimant was not provided.

         Form AO 213 for the non−individual claimant was not provided.

         A copy of the individual claimant's driver's license was not provided.

         A notarized signature of the claimant was not provided.

         Claimant's name, address and telephone number were not provided.

         No explanation of the right of the claimant to the unclaimed funds was provided.

         The Movant did not supply a notarized original Power of Attorney.
               Case 3:12-bk-07345-PMG              Doc 131       Filed 09/20/18       Page 2 of 2

      The Corporate claimant failed to provide a corporate power of attorney signed by an officer of the
company and a statement of the signing officer's authority.

        The Movant did not supply a certified copy of the decedent's death certificate and/or certified copies of
all probate documents that substantiate the right to act on behalf of the decedent's estate.

       The Movant did not supply sufficient documentation evidencing the transfer of the claim or proof of
purchase/sale of the assets.

        The amount of funds requested does not match the amount held in the court registry.

        There are no funds on deposit in the name of the movant.

      Other : 1) Missing notarized signature for John Hardwick. 2)Need completed W−9's for both John
Hardwick and Allison Hardwick.

   Accordingly, it is

   ORDERED:

   That the Motion for Payment of Unclaimed Funds filed by Ashtin Henninger, $11,447.01 is denied. A new
motion, fulfilling the requirements of 28 U.S.C. § 2042 and the financial guidelines for the U.S. Bankruptcy
Court, Middle District of Florida, may be refiled.



The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
